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                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

                           CASE NO.: 6:21-cv-00119-CEM-EJK

 RONALD E. SCHERER,

       Plaintiff,
 v.

 JPMORGAN CHASE BANK, N.A.,
 STEVEN TIGGES,
 STUART PARSELL, and
 ZEIGER, TIGGES & LITTLE, LLP,

      Defendants.
 ____________________________________/

                DECLARATION OF DEREK E. LEÓN IN SUPPORT
                 OF DEFENDANT’S AMENDED SUPPLEMENTAL
                 MOTION ON AMOUNT OF ATTORNEYS’ FEES

        Pursuant to 28 U.S.C. § 1746, and under penalty of perjury, I, Derek E. León,

  declare as follows:

        1. I make this declaration in support of Defendant JPMorgan Chase Bank,

  N.A.’s (“JPMC”) Amended Supplemental Motion on Amount of Attorneys’ Fees.

        2. I am a founding partner of the law firm of León Cosgrove LLP, which is

  counsel for JPMC.

        3. I make this declaration based upon personal knowledge of the following facts

  and, if called as a witness, could and would testify competently thereto.

        4. This declaration describes the timekeeping practices, experience, and hourly

  rates of myself, three other attorneys, and a paralegal who worked on this case, my


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  review of the bills presented to and paid by JPMC in this case, and my review of a

  January 2022 bill recorded but not yet paid by JPMC.

        5. Attached as Exhibit A is a copy of my biography from León Cosgrove’s

  website outlining my skill and experience.

        6. Attached as Exhibit B is a copy of Andrew Boese’s biography from León

  Cosgrove’s website outlining his skill and experience.

        7. Attached as Exhibit C is a copy of William O’Leary’s biography from León

  Cosgrove’s website outlining his skill and experience.

        8. Attached as Exhibit D is a copy of Laurie Mathew’s biography from León

  Cosgrove’s website outlining her skill and experience.

        9. I co-founded this firm in 2013. Since that time, I have litigated numerous

  commercial matters.

        10. Prior to co-founding the firm, I was an equity partner at a leading global law

  firm with in excess of 2200 lawyers. I have tried numerous cases to successful verdicts

  in state and federal courts throughout the United States.

        11. All León Cosgrove attorneys, and paralegal, have followed standard León

  Cosgrove practices to maintain their time records. This means generally

  contemporaneous entry of time into our computerized time-keeping application.

        12. All time calculations are noted in percentages of an hour, with the smallest

  entry being for one-tenth (.1) of an hour.




                                                    2
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        13. For this matter, my hourly rate was $534.00. I spent a total of 12.2 hours on

  this matter, resulting in a total fee of $6,514.00. This was a discounted rate provided

  to JPMC, as my standard hourly rate is $865.

        14. Ms. Mathew’s hourly rate for this matter was $534. She spent a total of 8.9

  hours on this matter, resulting in a total fee of $4,752.60. This was discounted rate

  provided to JPMC, as Ms. Mathew’s standard hourly rate is $835.

        13. Mr. Boese’s hourly rate for this matter was $465. He spent a total of 97.7

  hours on this matter, resulting in a total fee of $45,430.00. This was a discounted rate

  provided to JPMC, as Mr. Boese’s standard hourly rate is $685.

        14. Mr. O’Leary’s hourly rate for this matter was $250. He spent a total of 1.1

  hours on this matter, resulting in a fee of $275.

        15. My firm also had to devote minor paralegal resources to the case. This work

  was performed by Diana Zulueta. Ms. Zulueta’s hourly billing rate during this case

  was $253 an hour. She spent 3.5 hours on this matter, resulting in a total fee of $885.50.

  Ms. Zulueta regularly bills out at $325 an hour. Ms. Zulueta is a highly skilled

  paralegal with more than 25 years of experience. She is also a lawyer in Chile.

        16. I reviewed all of the time sheets in this litigation. Based on my review, I

  verify that all of the rates and hours requested were the rates and hours actually

  charged to and paid by JPMC (with the exception of January 2022, which has been

  charged and is expected to be paid by JPMC), and that they are less than or equal to

  rates regularly charged by the attorney or paralegal. I further verify that I have

  reviewed each task and have removed any charge for a task that is excessive,
                                                    3
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  duplicative, clerical, or otherwise unreasonable, and that the total amount sought in

  this fee petition represents actual hours billed at reasonable rates. I declare under

  penalty of perjury under the laws of the United States of America that the foregoing is

  true and correct.

 Dated: February 25, 2022                        Respectfully submitted,

                                                 /s/ Derek E. León
                                                 Derek E. León




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  Office: 305.740.1977

  Fax:     305.437.8158

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  Linkedin profile




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  DEREK E. LEÓN IS A FOUNDING PARTNER OF LEÓN
  COSGROVE LLP AND A CHAMBERS-RANKED COMMERCIAL
  LITIGATOR WHO HAS TRIED NUMEROUS COMPLEX CASES
  TO VERDICT IN STATE AND FEDERAL COURTS ACROSS THE
  COUNTRY.
  Chambers USA 2019 recognized Mr. León as a “natural leader and thinker,” experienced in complex
  commercial litigation and arbitrations, who helps “major” corporate clients with their financial, insurance and
  intellectual property disputes.”

  He has also been praised by Chambers for his “wide range of litigation and trial skills,” including his “excellent
  sense of strategy” and oral advocacy skills. Chambers also underscores his expertise in complex disputes “across
  a wide array of sectors, including financial services, manufacturing, technology and real estate.” His more than
  20 years of commercial trial experience also encompasses the software and agricultural sectors.

  In addition to his significant first-chair trial experience in both state and federal courts across the nation, Mr.
  León also has first-chair arbitration experience in national and international arbitration forums. He has handled
  appeals in both state and federal courts in a number of several jurisdictions.

  Mr. León’s results-oriented advocacy drives him to develop the optimal strategy for each client and matter.
  Whether it involves sophisticated motion practice or a full-scale trial, he always strives to win “globally” on
  every parameter important to the client.

  Representations
  Intellectual Property
  Trace-Wilco, Inc. v. Symantec Corporation, et al. Case No. 08-CV-80877-KAM. Represented
  defendant in patent infringement action.

  Cross County Home Services, Inc. v. Home Services USA Corporation, et al., Case No. 08-CV-61456-PAS.
  Represented domestic and international companies in successful defense of a multi-million dollar trademark
  infringement action.

     Read More…

  Financial Services litigation
  JPMorgan Chase Bank, N.A. et al. v. Ben-Ezra & Katz, P.A., Case No. 11-CV-60655-JIC. Represented bank in
  successful claim for injunctive relief.

  Aris Multi-Strategy Fund, L.P. v. Guerra, et al., No. 602982/09 (N.Y. Sup. Ct.); Aris Multi-Strategy Fund, L.P. v.
  Quantek Opportunity Fund, L.P., Case No. 11-10074CA40. Represented investment manager in defense of state
  law claims arising from alleged negligence and pursuit of insurance recovery claims under D&O policy.

     Read More…

  Insurance recovery
  Republic Services, Inc. v. American International Specialty Lines Insurance Company, Case No. 07-CV-21991-
  ASG. Represented plaintiff in a $67 million insurance recovery claim for damages arising from landfill clean-up.

  Costa Nursery Farms v. Arch Specialty Ins., Case No. 06-CV-22450-MGC. Represented plaintiff in a $20
  million insurance recovery claim for structural damages arising from hurricane damage.


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  General Commercial litigation
  NCL (Bahamas) Ltd. v. ABB Ltd., et al., Case No. 05-CV-21796-JAL. Represented defendant in defense of $200
  million warranty and tort claims.

  In re: Dreams, Inc. Shareholder Litigation, No. 12-11242 (07) (Fla. Cir. Ct.) (Judge Streitfeld). Represented
  defendant in shareholder derivative action.

  Costa Layman, LLC v. Copeland, Case No. 13-CV-24309-JEM. Prosecuted violation of non-compete and claim
  for injunctive relief.

  Cardinal Commercial Development, LLC v. Pan American West, Ltd., 50 So.3d 68 (Fla. 3d DCA 2010):
  Represented Plaintiff, Cardinal Commercial Development LLC, at the trial court and on appeal, in a commercial
  real estate dispute over land use provisions in a purchase agreement for the development of land in an industrial
  park.

  Reported Decisions
  Acosta v. Merscorp Inc., 2007 WL 2153563 (S.D. Tex. 2007)

  Bennett v. United States Water Polo, Inc., 2009 WL 1089480 (S.D. Fla. 2009)

  Citadel Commerce Corp. v. Cook Sys., LLC, 2010 U.S. Dist. LEXIS 54730 (M.D. Fla. 2010)

  Columbia Data Prods. v. Symantec Corp., 2008 WL 516748 (M.D. Fla. 2008)

  Cross Country Home Servs. v. Home Serv. United States Corp., 2010 WL 331752 (S.D. Fla. 2010)

  In re Deepwater Horizon, 745 F.3d 157 (5th Cir. 2014)

  In re Sinaltrainal Litig., 474 F. Supp. 2d 1273 (S.D. Fla. 2006)

  JPMorgan Chase Bank, N.A. v. Ben-Ezra & Katz, P.A., 2011 U.S. Dist. LEXIS 41047 (S.D. Fla. 2011)

  Kaye v. Ingenio, Filiale De Loto-Quebec, Inc., 2014 U.S. Dist. LEXIS 73180 (S.D. Fla. 2014)

  Pan American West, Ltd. v. Cardinal Commer. Dev., LLC, 50 So. 3d 68 (Fla. 3d DCA 2010)

  Robinson v. Merscorp Inc., 2008 U.S. Dist. LEXIS 8714 (S.D. Tex. 2008)

  SunGard Pub. Sector, Inc. v. Innoprise Software, Inc., 2012 U.S. Dist. LEXIS 12858 (M.D. Fla. 2012)

  Trace-Wilco, Inc. v. Symantec Corp., 2009 U.S. Dist. LEXIS 13646 (S.D. Fla. 2009)

  Tvestments, Ltd. v. L.K. Station Group, LLC, 2008 U.S. Dist. LEXIS 120804 (S.D. Fla. 2008)

  Zephyr Aviation III, L.L.C. v. Keytech Ltd., 2008 U.S. Dist. LEXIS 21944 (M.D. Fla. 2008)

  Leadership
  Mr. León co-founded the litigation boutique León Cosgrove LLP in 2013 as a new value proposition in
  commercial litigation after a decade of accomplishments as an equity partner at a perennial top-10 international
  law firm.

  For a decade, he managed a national litigation practice from Miami and Houston offices, during which he
  successfully tried numerous cases to verdict across the U.S.; co-chaired a firm-wide global Retail Practice
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  Group; and led IP Disputes, Insurance Recovery, and Products Liability practices in Florida. In 2005, Mr. León
  became one of the youngest associates ever to be named partner from within the 1,400-lawyer firm.

  Mr. León started his career as a trial lawyer in 1997 at one of the most prestigious litigation powerhouses in
  Houston, where he successfully tried a number of cases to verdict in state and federal courts throughout Texas.
  He maintains deep roots in the Houston area in addition to his Miami base of operations.

  Community Involvement
  From 2010 to 2013, Mr. León served as General Counsel to the Congressional Hispanic Caucus Institute, a non-
  profit organization based in Washington, D.C., and led by U.S. congressional leaders and senior executives from
  numerous Fortune 500 companies, all dedicated to developing the next generation of Latino leaders.

  In 2006, he founded LegalLine of Miami-Dade, a free and anonymous legal advice community hotline
  sponsored by the Dade County Bar Association, and has served as LegalLine’s chair since inception. In 2008,
  LegalLine garnered a prestigious pro bono award from The Florida Bar and was recognized as the best pro bono
  program in the state.

  Mr. León is also a graduate of the Greater Miami Chamber of Commerce’s “Leadership Miami” program, and is
  a long-time member of the GMCC.

  Practice Areas

  Commercial Litigation

  Banking & Financial Services

  Class Action

  Intellectual Property

  Real Estate

  Insurance Recovery

  Honors & Awards

  Recognized by The Best Lawyers in America© 2020 for Commercial Litigation

  Recognized by The Best Lawyers in America© 2019 for Commercial Litigation

  Ranked in Florida for Commercial Litigation, Chambers USA 2020

  Ranked in Florida for Commercial Litigation, Chambers USA 2019

  Ranked in Florida for Commercial Litigation, Chambers USA 2018

  Ranked in Florida for Commercial Litigation, Chambers USA 2017

  Ranked in Florida for Commercial Litigation, Chambers USA 2016

  Law360 ‘Trial Pro” 2016

  One of 30 top corporate “Influentials” in the U.S. (and one of only four outside counsel attorneys to make the
  list), Hispanic Business Magazine, 2011
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  “Legal Elite,” Florida Trend magazine

  Lynn Futch “Most Productive Young Attorney” award, The Florida Bar, 2007

  Top “Up & Comer” in the legal industry, South Florida Business Journal, 2007

  Court Admissions

  Florida

  Texas

  U.S. District Courts for the Southern, Middle and Northern Districts of Florida

  U.S. District Courts for the Southern, Northern, Eastern and Western Districts of Texas

  U.S. Courts of Appeals for the Fifth and Eleventh Circuits

  Education

  J.D., University of Miami School of Law, cum laude, 1997

  B.A., Florida State University, 1993

  Languages

  Native Speaker of English and Spanish

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  Andrew B. Boese


  Andrew B. Boese




  Office: 305.740.1984
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  Fax:     305.437.8158

  Email: aboese@leoncosgrove.com


  ANDREW B. BOESE IS A PARTNER AT LEÓN COSGROVE LLP
  WHO FOCUSES HIS PRACTICE ON CIVIL TRIAL AND
  APPELLATE MATTERS AND ON COMPLEX COMMERCIAL
  LITIGATION.
  Mr. Boese has extensive experience in financial services litigation, qui tam whistleblower actions, consumer
  protection actions, business torts, contract disputes, municipal law, and complex land use disputes. He has tried
  jury and bench trials in state and federal courts in Florida, and handled arbitrations before the American
  Arbitration Association. His appellate experience includes oral arguments before the United States Court of
  Appeal for the Eleventh Circuit, Florida’s Third and Fourth District Courts of Appeal and the Florida Circuit
  Court Appellate Division.

  Mr. Boese previously practiced at Morgan, Lewis & Bockius LLP, where he primarily defended institutional
  clients in high-profile national lawsuits at the trial and appellate levels throughout the country. Prior to his work
  at Morgan Lewis, Mr. Boese was an Assistant Attorney for Miami-Dade County, one of the largest counties in
  the United States, where he was chief of the appellate practice section. He also was an adjunct faculty member at
  the University of Miami School of Law, where he taught legal writing from 2004 to 2010.

  Prior to law school, Mr. Boese served for eight years in the U.S. Army’s Military Intelligence Corps, from which
  he was honorably discharged as a Captain.

  Representations
  Represented the State of Florida against RJ Reynolds Tobacco in a contract action that resulted in a $93 million
  judgment in favor of the State of Florida, and for annual payments in perpetuity.

  Defense of a financial services company in federal district courts in Nevada and California and before the Ninth
  Circuit Court of Appeals in claims involving qui tam False Claims Act allegations that the company deceptively
  avoided compliance with mortgage recording requirements.

  Defense of Broward County and its Board of County Commissioners from alleged violations of Section 2 of the
  Voting Rights Act and the Equal Protection Clause through the process of redrawing district boundaries.

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  Practice Areas

  Commercial Litigation

  Banking & Financial Services

  Appellate

  Class Action

  Honors & Awards

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  John Edward Smith Child Advocacy Award, Lawyers for Children America, 2007

  Court Admissions

  Florida

  U.S District Courts for the Southern, Middle, and Northern Districts of Florida

  U.S. Courts of Appeals for the Sixth and Eleventh Circuits

  Education

  J.D., University of Miami School of Law, summa cum laude, 2004

  University of Miami Law Review

  B.S., Excelsior college, 1995

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   SEARCH
  William A. O'Leary


  William A. O’Leary




  Office: 305.570.3247

  Email: woleary@leoncosgrove.com


  William O’Leary focuses his practice on complex commercial and
  business litigation. Prior to joining Leon Cosgrove, LLP, Mr. O’Leary
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  served as a career judicial law clerk to the Honorable James Lawrence
  King of the United States District Court for the Southern District of
  Florida. In that role, he drafted numerous opinions and maintained
  primary responsibility for the court’s civil and criminal docket, where
  he was exposed to a wide variety of cases arising under many different
  practice areas. This experience has given him a unique insight into
  effective legal writing and oral advocacy, as well as a strong grasp of
  the Federal Rules of Civil Procedure and Federal Rules of Evidence.
  Mr. O’Leary attended the University of Florida Levin College of Law, where he graduated in the top 5 percent of
  his class, with honors, while simultaneously serving as the vice-president of the Justice Campbell Thornal
  Florida Moot Court Team, a teaching assistant for a legal writing professor, an editor of the Florida Journal of
  Law and Public Policy and a summer associate for in-house counsel to a Fortune 500 company.

  Practice Areas

  Commercial Litigation

  Honors & Awards

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  Book Awards in Florida Civil Procedure, Trial Practice

  Best Oralist, Zimmerman Kiser Sutcliffe Moot Court Final Four Competition

  Best Brief Winner and Finalist, E. Earle Zehmer National Moot Court Competition

  Best Team, Raymer F. Maguire Appellate Advocacy Competition

  Order of the Barristers

  Court Admissions

  Florida

  Education

  J.D., University of Florida Levin College of Law, magna cum laude, 2019

  B.A., Catholic University, magna cum laude, 2016

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                         Exhibit D
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  Laurie Mathews




  Office:305.740.1989

  Email:lmathews@leoncosgrove.com
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  MS. MATHEWS IS A PARTNER WITH LEÓN
  COSGROVE LLP, WHERE SHE FOCUSES HER
  PRACTICE ON COMPLEX COMMERCIAL AND
  BUSINESS LITIGATION IN FEDERAL AND STATE
  COURTS NATIONWIDE.
  Ms. Mathews litigates complex contractual and partnership disputes, and claims involving IP and
  non-compete covenants, trade secrets and deceptive business practices, consumer product defects
  and franchise and distributor relationships. She also has significant experience in corporate
  governance, designing and implementing corporate compliance programs and conducting
  internal investigations on a variety of issues, including money laundering.

  Prior to joining León Cosgrove, Ms. Mathews was a partner in the Miami office of Hunton &
  Williams, representing many of that firm’s institutional clients in the consumer products and
  financial sectors.

  Representations

  Represented large multinational companies in numerous commercial and contract disputes.

  Represented a multinational publicly traded company in connection with an internal
  investigation of money laundering compliance issues.

  Represented large multinational companies in a dispute involving the termination of partnership
  and business agreements.

  Handled numerous injunction proceedings involving intellectual property disputes, franchise and
  distributor terminations, enforcement of covenants not to compete and protection of confidential
  information and trade secrets.

  Successfully defended various breach of contract actions.

  Successfully defended a securities fraud action.

  Successfully defended a whistleblower action brought against a major communications network.

  Represented a large furniture retailer in state court litigation involving contract and warranty
  disputes and deceptive business practice claims.

  Designed and implemented corporate compliance programs and conducted corporate compliance
  reviews and internal investigations for various companies.

  Practice Areas
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  Commercial Litigation

  Class Action

  Internal & Government Investigations

  Honors & Awards

  “Rising Star,” Florida Super Lawyers, 2009-2011

  Court Admissions

  Florida

  U.S. District Courts for the Southern, Middle, and Northern Districts of Florida

  Education

  J.D., University of Miami School of Law, magna cum laude, 1997

  A.B., Harvard University, cum laude, 1993

  Clerkships

  Hon. Edward B. Davis, U.S. District Court for the Southern District of Florida, 1998-1999
